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Hussin Law

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Attorney for Plaintiff, Janice Getty

Janice Getty,
Plaintiff,

VS.

Versatile Marketing Solutions, Inc. a
Massachusetts corporation; Alliance
Security, Inc, a Delaware corporation, dba
AH Security, Inc.; and DOES 1-10,
inclusive,

Defendants.

 

 

without prejudice.

DATED: October 27, 2021

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Tammy Gruder Hussin, Esq. (Bar No. 155290)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
SOUTHERN DIVISION

Case No.: 2:17-cv-08657-KS

NOTICE OF VOLUNTARY
DISMISSAL OF ENTIRE ACTION

Pursuant to F.R.C.P. 41(a)(1)(i) of the Federal Rules of Civil Procedure,

Plaintiff hereby gives notice that the above-captioned action is voluntarily dismissed

HUSSIN LAW

By: /s/Tammy Hussin
Tammy Hussin, Esq.

Attorney for Plaintiff, Janice Getty

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